            Case 3:25-cv-00243       Document 1        Filed 02/17/25      Page 1 of 34




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

 STANLEY BLACK & DECKER, INC.,
 STANLEY LOGISTICS, LLC, and BLACK
 & DECKER (U.S.) INC.,                                             COMPLAINT

        Plaintiffs,
                                                           Civil Action No. 3:25-cv-00243
                        v.

 PACIFIC MARKET INTERNATIONAL,                             JURY TRIAL DEMANDED
 LLC and PMI WW BRANDS LLC,

        Defendants.


                                          COMPLAINT

       Plaintiffs Stanley Black & Decker, Inc., Stanley Logistics, LLC, and Black & Decker

(U.S.) Inc. (together, “Stanley”), by and through their undersigned counsel, hereby file suit

against Defendants Pacific Market International, LLC and PMI WW Brands LLC (together,

“PMI”), and allege as follows:

       1.      This dispute arises from PMI’s pervasive misuse of STANLEY in violation of the

parties’ agreement and federal and state law.

       2.      For over 180 years, customers and communities have relied on and trusted

Stanley products as they build, shape, and protect the world around us. Stanley was founded in

1843, and it has since grown to sell and license a wide variety of STANLEY-branded products

broadly to professionals and everyday consumers, including hand and power tools, indoor and

outdoor hardware and equipment, storage and related accessories, knives, lighting, electrical

equipment and accessories, clothing, gloves, hats, footwear, sanitizers, toys, bags, various mobile

accessories (such as cases and chargers), and a long list of other products.




                                                 1
            Case 3:25-cv-00243      Document 1        Filed 02/17/25     Page 2 of 34




       3.      Long after Stanley was established, PMI’s predecessor began selling insulated

containers (cups and bottles) labeled STANLEY. Over a half century ago, Stanley and PMI’s

predecessor recognized both the extent of Stanley’s senior rights and that PMI’s use of

STANLEY, if unconstrained, was likely to cause consumer confusion. The parties thus entered

into a series of agreements beginning in 1966 and continuing through 2012 to, among other

things, prohibit PMI from using STANLEY as its company name, limit PMI’s use of STANLEY

to specific categories of goods, and place strict requirements on PMI’s website domain name and

on how PMI’s advertising and goods had to be displayed and/or marked.

       4.      But recently, PMI has willfully and intentionally ignored the carefully crafted

restrictions of the parties’ agreement, choosing instead to use STANLEY broadly, including in

ways that the parties’ agreement expressly prohibited and that infringe on Stanley’s trademark

rights. PMI rode that misuse to viral success by, among other things, misappropriating

STANLEY as its company name, expanding beyond the specified product categories, ignoring

the contractual prohibitions relating to PMI’s website domain name, advertising, and product

marking, and confusing customers by selling hundreds and hundreds of millions (if not billions)

of dollars of STANLEY-branded merchandise in violation of the parties’ agreement.

       5.      Stanley seeks to bring PMI’s misuse of STANLEY to an end and to obtain

compensation from PMI for its ill-gotten gains.

                             I.    NATURE OF THE ACTION

       6.      In 1966, in recognition of Stanley’s rights and an effort to avoid customer

confusion that would result if PMI used STANLEY unconstrained, Stanley and Aladdin

Industries Incorporated (“Aladdin”), the predecessor to PMI, entered into what would be the first

of a series of agreements designed to limit PMI’s use of STANLEY (the “1966 Agreement”).




                                                  2
               Case 3:25-cv-00243      Document 1      Filed 02/17/25      Page 3 of 34




Among other things, PMI’s use of STANLEY was expressly restricted to “insulated containers

adapted to keep their contents hot or cold.”

          7.      In 2012, the parties entered into a new agreement (the “2012 Agreement”) to

address PMI’s then-noncompliant and encroaching use of STANLEY, which exceeded the scope

of the previous agreement. The 2012 Agreement reinforced that PMI’s use of STANLEY was

limited to use on food and beverage containers (and their carrying cases), provided restrictions

relating to PMI’s use of STANLEY as a company name, division, or proper noun, limited PMI’s

use of STANLEY in connection with any website domain name, and also placed restrictions on

PMI’s use of STANLEY on goods and advertising, all in an agreed-upon effort to differentiate

Stanley’s overall company and existing brand from PMI’s limited use of STANLEY on food and

beverage containers.

          8.      Notwithstanding the restrictions in the 2012 Agreement, PMI recently breached

that agreement and infringed Stanley’s rights in order to seize upon an opportunity to expand and

rebrand its product offerings. Among other things, PMI stopped including “PMI” in its company

name and changed its name to just STANLEY. PMI identified itself as STANLEY in the

marketplace, on products, in advertising, and in its website domain (www.stanley1913.com), all

in willful and intentional violation of the parties’ 2012 Agreement and Stanley’s trademark

rights.

          9.      PMI’s recent growth has been accompanied by several waves of negative press

associating STANLEY with, for example, lead poisoning and burn hazards. For example, in

February 2024, PMI was sued by customers and there were widespread media reports regarding

concerns that “Stanley” failed to disclose that its products contained lead. Less than a year later,

in December 2024, PMI announced a recall of approximately 2.6 million STANLEY-branded




                                                  3
           Case 3:25-cv-00243         Document 1        Filed 02/17/25      Page 4 of 34




steel travel mugs over potential burn hazards. The recall notice was titled “Stanley Recalls 2.6

Million … Travel Mugs Due to Burn Hazard,” implying that the defective products originated

from Stanley, not PMI. The notice further stated that “Stanley has received 91 reports

worldwide, including 16 in the U.S., of the recalled travel mugs’ lids detaching during use” and

that consumers “should immediately stop using the recalled travel mugs and contact Stanley to

receive a free replacement lid.” PMI’s breach of contract and trademark infringement has

unjustly shifted the reputational harm of PMI’s defective products from PMI to Stanley.

       10.     PMI’s breach of contract and trademark infringement poses an imminent threat of

irreparable harm to Stanley, the STANLEY brand, and the goodwill and advantageous business

relationships that Stanley has earned by using STANLEY in commerce for almost two centuries.

The longer PMI is permitted to advertise, market, and commercialize itself as STANLEY, and

market and sell its products as STANLEY products without mentioning PMI, the greater the

harm that it will impose on Stanley’s reputation, value, and prestige, the STANLEY brand’s

position in the marketplace, and Stanley’s ability to control its brand in the future.

       11.     Stanley thus seeks monetary damages and equitable relief, including enjoining

PMI’s advertising, marketing, and sale of products using STANLEY, as well as any further acts

of trademark infringement or breach of contract.

                                     II.    THE PARTIES

       12.     Stanley Black & Decker, Inc. is a Connecticut corporation having its principal

place of business located at 1000 Stanley Drive, New Britain, Connecticut, 06053.

       13.     Stanley Logistics, LLC is a Delaware corporation having its principal place of

business at 1000 Stanley Drive, New Britain, Connecticut, 06053.

       14.     Black & Decker (U.S.) Inc. is a Maryland corporation having its principal place of

business at 701 East Joppa Road, Towson, Maryland, 21286.


                                                  4
            Case 3:25-cv-00243         Document 1        Filed 02/17/25       Page 5 of 34




          15.   On information and belief, Pacific Market International, LLC is a Washington

company, having its principal place of business at 2401 Elliott Avenue, 4th Floor, Seattle,

Washington, 98121.

          16.   On information and belief, PMI WW Brands LLC is a Delaware company, having

its principal place of business at 2401 Elliott Avenue, 4th Floor, Seattle, Washington, 98121.

                            III.    JURISDICTION AND VENUE

          17.   Federal subject matter jurisdiction is conferred by, inter alia, 29 U.S.C. § 1331

(federal question), 28 U.S.C. § 1338(a) (trademark claims), and the Lanham Act, 15 U.S.C.

§ 1051, et seq., including 15 U.S.C. §§ 1121, 1125. This Court has diversity, supplemental,

and/or pendant jurisdiction over Stanley’s state law claims under at least 28 U.S.C. § 1332 and

§ 1367.

        18.     This Court has personal jurisdiction over PMI pursuant to the Connecticut Long-

Arm Statute, Connecticut General Statute § 33-1219(f) (as applicable to these proceedings under

Rule 4 of the Federal Rules of Civil Procedure), and the Fourteenth Amendment of the United

States Constitution because PMI is found, transacts, or is doing business in and otherwise

maintains minimum contacts with the State of Connecticut. Specifically, PMI entered into the

2012 Agreement with Stanley Black & Decker, Inc. and Stanley Logistics, LLC, which

agreement provides that it shall be construed in accordance with the laws of the State of

Connecticut. Furthermore, a substantial part of the events or omissions giving rise to the claim

occurred, or a substantial part of property that is the subject of the action is situated, in

Connecticut. On information and belief, PMI has also directed a substantial amount of improper

marketing and advertising towards Connecticut, and it has also marketed and sold in Connecticut

a substantial number of products that breach the 2012 Agreement and infringe Stanley’s

trademark rights. PMI also maintains an active website, which itself breaches the 2012


                                                   5
          Case 3:25-cv-00243          Document 1       Filed 02/17/25      Page 6 of 34




Agreement and infringes Stanley’s trademark rights in multiple ways (as described above and

below) and where consumers in Connecticut can directly purchase infringing PMI products.

       19.      Venue is proper in this District under 28 U.S.C. § 1391(b)-(d).

                             IV.    FACTUAL BACKGROUND

A.     Stanley’s Trademark Rights

       20.      Stanley was founded by Frederick T. Stanley in 1843 as a hardware

manufacturing business in New Britain, Connecticut. Over the last two centuries, Stanley has

invested millions of dollars to develop and market its business to become one of the world’s

leading companies. Because of those investments, STANLEY has become synonymous with

three core values: quality, durability, and innovation, the foundation on which the success of

Stanley’s business was built. As a result of Stanley’s hard-earned reputation over more than 180

years, STANLEY has become synonymous with strength and prestige.

       21.      Stanley has protected the stellar reputation of its business through more than a

dozen registered United States trademarks covering a wide range of goods since as early as 1907.

Stanley owns registrations for a family of trademarks associated with STANLEY, including the

following U.S. Trademark Registration Nos. (collectively, the “Stanley Registrations”), each of

which includes STANLEY:

              66,675                         1,361,937                        3,759,308

              67,119                         1,466,166                        3,958,147

             178,322                         1,916,003                        7,101,322

             690,773                         2,650,061                        7,101,323

             706,231                         2,908,883                        7,169,142

             1,273,354                       2,959,921                        7,230,766

             1,360,127


                                                 6
             Case 3:25-cv-00243      Document 1       Filed 02/17/25     Page 7 of 34




       22.      The Stanley Registrations are in full force and effect. Many of the marks

protected by the Stanley Registrations have become incontestable pursuant to 15 U.S.C. § 1065.

       23.      Since its founding, Stanley has continuously marketed and commercialized a wide

range of products nationwide under STANLEY, including in the classes of the Stanley

Registrations, including hand and power tools, measuring implements, storage equipment,

clothing (for both adults and children), footwear, watches, and even children’s toys. Stanley has

invested millions of dollars in advertising and promoting its STANLEY-branded products in the

United States, including through marketing events, testimonials, and advertisements in a wide

variety of magazines and newspapers, on television, on its website, and on social media

platforms.

B.     The Parties’ Contractual History

       24.      In July 1966, Stanley and PMI’s predecessor, Aladdin, entered into the 1966

Agreement to “avoid any confusion in the use of the trademark STANLEY.” Among other

provisions, the 1966 Agreement required Aladdin and its successors to (1) “confine its use of the

trademark STANLEY to insulated containers adapted to keep their contents hot or cold, and …

not [to] extend the use of such trademark to other goods”; and (2) include “Aladdin,”

“Aladdin’s,” or an abbreviation of its corporate name on any “goods, advertisements, [or]

literature” which bear the STANLEY mark (all emphasis throughout this complaint is added

unless otherwise noted).

       25.      On July 3, 1990, the parties amended the 1966 Agreement to further clarify the

parties’ obligations (the “1990 Amendment”). Aladdin agreed to either withdraw and re-file a

new application, or otherwise amend its then-pending trademark application, from STANLEY to

ALADDIN-STANLEY.




                                                7
           Case 3:25-cv-00243           Document 1       Filed 02/17/25      Page 8 of 34




        26.      Years later, after negotiations regarding PMI’s repeated non-compliance with the

1966 Agreement, the parties entered into a new agreement in 2012 further clarifying the

boundaries of PMI’s permissible use of STANLEY. In the 2012 Agreement, PMI agreed, among

other things, that:

        a) “PMI’s use of STANLEY shall be limited solely to use … to promote and sell

              insulated and non-insulated containers for food or beverages, and carrying cases for

              transporting the same” (Paragraph 1);

        b) “[W]henever PMI uses … STANLEY on advertisements, catalogs, Web sites, or

              press releases (collectively, ‘Advertising Materials’), PMI will, prominently and at

              least once on each page of such Advertising Materials, display its full corporate name

              (i.e., ‘Pacific Market International’ or ‘Pacific Market International, LLC’) or PMI

              (‘the PMI Name’) in a manner that is readily visible to consumers” (Paragraph 2(a));

        c) “All press releases issued by or with PMI will clearly identify the company issuing

              the press release as ‘Pacific Market International’ or ‘Pacific Market International,

              LLC’” (Paragraph 2(a));

        d) “Advertising Materials and Products, and any goods distributed at no charge for

              promotional purposes, that bear the STANLEY mark shall display the PMI Name

              adjacent to STANLEY and in a size ratio of at least 1:6 … in at least one readily

              visible instance in each piece of Advertising Material, on each Product, and on each

              good distributed at no charge for promotional purposes” (Paragraph 2);

        e) PMI must display the PMI name and PMI’s web site address alongside STANLEY in

              various places on its products “in a readily visible and prominent manner” to

              consumers, including “at the time of purchase” (Paragraph 2(b));




                                                   8
          Case 3:25-cv-00243          Document 1       Filed 02/17/25      Page 9 of 34




       f) PMI “is prohibited from … using STANLEY as a company name, division or proper

             noun (e.g., ‘At Stanley, we believe ….’)” (Paragraph 3(a));

       g) “PMI is prohibited from … [u]sing the ® trademark registration symbol with

             STANLEY unless PMI owns a registration for that trademark covering the associated

             goods” (Paragraph 3(c)); and

       h) “PMI is prohibited from … [o]wning or using a domain name that incorporates

             Stanley unless: (a) the PMI Name is part of the domain name; and (b) the associated

             Web site only displays, promotes and/or sells insulated and non-insulated containers

             for food or beverages, and carrying cases for transporting the same” (Paragraph 3(h)).

       27.      The parties further agreed that the “failure at any time to demand strict

performance of any of the terms, covenants, or conditions set forth herein shall not be construed

as a continuing waiver or relinquishment thereof and the Parties may at any time demand strict

and complete performance by the other party of said terms, covenants, and conditions.”

C.     PMI’s Wrongful Use of STANLEY

       28.      In willful and intentional violation of both the 2012 Agreement and Stanley’s

trademark rights, PMI adopted STANLEY and/or STANLEY 1913 as a tradename, house mark,

and brand name; rebranded its company, business, and products as STANLEY and/or

STANLEY 1913; used the domain name www.stanley1913.com; expanded its product offerings

beyond food and beverage containers; and abandoned any effort to refer to itself as PMI or

otherwise use its full corporate name or PMI in connection with its products, company name,

domain name, press releases, and/or advertising materials as contemplated by the 2012

Agreement. In so doing, PMI violated multiple provisions of the 2012 Agreement and also

infringed on Stanley’s trademark rights in connection with all of PMI’s products, every page of




                                                  9
          Case 3:25-cv-00243         Document 1        Filed 02/17/25      Page 10 of 34




its website, all of its social media and other advertising (including point-of-sale advertising), and

virtually all of its consumer and public-facing communications, including press releases.

       Website and Domain Name

       29.     PMI has adopted the company name and the brand or trade name STANLEY (or,

sometimes, STANLEY 1913) in virtually every consumer and business interaction.

       30.     PMI’s website, webpages, and domain name infringed Stanley’s trademark rights

and violated the 2012 Agreement. For example, and without limitation, PMI used a domain

name and corporate email address—www.stanley1913.com and @stanley1913.com—that is

confusingly similar to STANLEY to sell, distribute, and advertise its products and to correspond

with consumers:




       31.     Throughout PMI’s website and other advertising materials, PMI presented its

company and brand name using STANLEY (or, sometimes, STANLEY 1913)—mostly without

ever mentioning PMI, and never prominently or readily visibly.




                                                 10
  Case 3:25-cv-00243        Document 1       Filed 02/17/25      Page 11 of 34




a) For example, PMI’s “About Stanley” page identified the company as STANLEY,

   explaining under the heading “Who We Are”: “Founded in 1913 …, Stanley has

   been there for generations of adventures. … Over 100 years later, a steady stream of

   products continues to honor the Stanley legacy, keeping your warms warm and your

   colds cold.”

b) The website repeatedly described PMI as STANLEY, for example and without

   limitation, stating that “Stanley is defined by Creativity, Building and Invention,”

   explaining “Stanley’s commitment to sustainability,” referring to the “Stanley style”

   or “Stanley culture,” describing customers as “Stanley consumers” and directing

   customers on how to obtain support regarding their “Stanley product,” and using

   phrases like “Stanley order,” “Stanley item,” and/or “Stanley account.”

c) Products were often described on the website as those belonging to a company named

   STANLEY, by stating, for example and without limitation, “Stanley’s water jug,”

   “products purchased from Stanley,” and “Stanley’s vacuum-insulated bottles.”

d) PMI described its business divisions, locations, employees, and job titles using

   STANLEY, for example and without limitation “Stanley Sales,” “Stanley US

   Support,” “Stanley’s Shanghai office,” “Stanley’s Consumer Experience Manager,”

   “Stanley Brand Ambassador,” “Stanley’s affiliate network partner,” and “Stanley

   team members.”



                                        11
  Case 3:25-cv-00243        Document 1       Filed 02/17/25      Page 12 of 34




e) PMI described the various commitments and values of PMI in ways that used

   STANLEY as a business name, for example and without limitation “sustainability at

   Stanley,” “Stanley perks,” “Stanley prioritizes recycled and upcycled materials” and

   “Stanley seeks suppliers that meet our high standards.”

f) The PMI website further referred to itself as the “Stanley website,” had a section

   called “Stanley Blogs,” touted a customization program called “Stanley Create” to

   encourage “Stanley personalization,” set up a program and fund for “Stanley

   Creators,” advertised “Stanley favorites” and “Stanley bestsellers,” set up a “Stanley

   Club,” and encouraged consumers to sign up for “My Stanley,” to “Explore Stanley”

   or “Shop Stanley,” to “receive SMS updates, text STANLEY to 22936,” and to “Join

   the Stanley community.”

g) And in various sections describing PMI’s policies, terms, warranties, and conditions,

   the website made clear that PMI is “(‘Stanley’, ‘we’, or ‘us’)” and/or that it is “dba

   Stanley,” and it further described various terms and policies as those belonging to

   “Stanley,” for example and including without limitation “Stanley’s warranty,”

   “Stanley Customized-Product Terms of Sale,” and “Stanley Mobile Messaging

   Terms.”

h) The footer of PMI’s website likewise read “©STANLEY, All Rights Reserved” and

   asserted copyright ownership on behalf of “STANLEY,” with no indication that this

   referred to PMI.

i) In fact, PMI’s website used the precise language that the 2012 Agreement explicitly

   identifies as exemplary prohibited language. Under the 2012 Agreement, “PMI is

   prohibited from … [u]sing STANLEY as a company name, division or proper noun




                                        12
            Case 3:25-cv-00243        Document 1       Filed 02/17/25      Page 13 of 34




             (e.g., ‘At Stanley, we believe …’).” And yet, on its “Sustainability” webpage, PMI

             used that exact language: “At Stanley, we believe that through invention and

             originality we create a more sustainable, less disposable life and world.”




       32.      The words “Pacific Market International” or “PMI” did not appear in PMI’s

domain name or on any of its PMI’s webpages, save for being buried in the sections of webpages

with the terms of legal policy documents, such as PMI’s privacy policy. Nor did the words

“Pacific Market International” or “PMI” appear prominently and/or readily visibly anywhere on

PMI’s webpages or advertising, let alone on the webpages marketing PMI’s food and beverage

products.

       33.      Only very recently on the website, the name “PMI” has been buried in one line in

small font size at the very bottom of the site and also—as before—on pages consumers are less

likely to interact with, such as the legal terms and policies pages. Even now, the words “Pacific

Market International” or “PMI” do not appear prominently and/or readily visibly anywhere on

PMI’s webpages or advertising, let alone on the webpages marketing PMI’s food and beverage

products.

       34.      More recent iterations of PMI’s webpages or other advertising sometimes

substitute “Stanley” with “Stanley 1913,” which equally violates the 2012 Agreement and

Stanley’s trademark rights. To the extent PMI has recently rebranded itself as STANLEY 1913




                                                  13
           Case 3:25-cv-00243       Document 1       Filed 02/17/25      Page 14 of 34




(instead of just STANLEY), this change does nothing to mitigate the harm to Stanley and

continues to breach of the 2012 Agreement and infringe of Stanley’s trademark rights. The 2012

Agreement expressly prohibits PMI’s use of STANLEY 1913 insofar as the Agreement prohibits

PMI from “[o]wning or using a domain name that incorporates Stanley unless … the PMI Name

is part of the domain name,” “using STANLEY as a company name, division or proper noun,”

not “prominently and at least once on each page of such Advertising Materials, display[ing] its

full corporate name (i.e., ‘Pacific Market International’ or ‘Pacific Market International, LLC’)

or PMI (‘the PMI Name’) in a manner that is readily visible to consumers,” and not “display[ing]

the PMI Name adjacent to STANLEY and in a size ratio of at least 1:6 … in at least one readily

visible instance in each piece of Advertising Material, on each Product, and on each good

distributed at no charge for promotional purposes.” Nor does the addition of “1913” resolve

consumer confusion, as STANLEY 1913 does not identify PMI as a source or origin. In fact,

PMI’s adoption of STANLEY 1913 increases likely consumer confusion with Stanley, as

Stanley is well-known as a venerable, established American company that prides itself on its

long history. Furthermore, STANLEY 1913 uses STANLEY as a company or brand name that

was founded or created in 1913, and it improperly suggests to consumers that PMI (not Stanley)

was the senior user, and that PMI (not Stanley) was first in the marketplace with STANLEY

goods.

         Social Media

         35.   PMI’s social media pages also infringed Stanley’s trademark rights and violated

the 2012 Agreement. PMI’s social media pages, including but not limited to Instagram, TikTok,

Twitter/X, and YouTube, likewise identified the company’s brand and trade name as STANLEY

or STANLEY 1913—with no mention of PMI:




                                                14
Case 3:25-cv-00243   Document 1   Filed 02/17/25   Page 15 of 34




                             15
          Case 3:25-cv-00243        Document 1       Filed 02/17/25      Page 16 of 34




       36.      To make matters worse, PMI used the handle “@StanleyBrand,” including but

not limited to on Instagram, TikTok, YouTube, and Twitter/X, with no mention of PMI. By

using “@StanleyBrand” as its handles, PMI was further using STANLEY as a company name,

brand name, or proper noun for social media purposes in violation of the 2012 Agreement and

Stanley’s trademark rights.

       Press Releases and Statements

       37.      PMI repeatedly violated Stanley’s trademark rights and the provisions in the 2012

Agreement requiring that “[a]ll press releases issued by or with PMI will clearly identify the

company issuing the press release as ‘Pacific Market International’ or ‘Pacific Market

International, LLC.’” PMI repeatedly issued press releases that never mentioned PMI, Pacific

Market International, or Pacific Market International, LLC, including in the following examples

without limitation:

             a) https://www.prnewswire.com/news-releases/stanley-announces-launch-of-

                inaugural-creators-fund-grant-program-301917796.html

             b) https://www.prnewswire.com/news-releases/inaugural-stanley-creators-fund-

                grants-250-000-to-non-profit-organizations-to-champion-inspiring-leaders-

                302057680.html




                                                16
          Case 3:25-cv-00243         Document 1       Filed 02/17/25      Page 17 of 34




              c) https://www.prnewswire.com/news-releases/stanley-announces-second-annual-

                 stanley-creators-fund-grant-opportunity-302239837.html

        38.      PMI also routinely and repeatedly deflected blame for adverse events or bad press

by omitting any mention of PMI from its press releases and statements. For example, when there

was widespread reporting of concerns that PMI’s products contain lead, PMI issued the

following corporate statement from STANLEY:




Similarly, when PMI products were recalled due to potential burn hazards, PMI issued press

releases and statements that nowhere referred to PMI, Pacific Market International, or Pacific

Market International, LLC, and instead described the company as STANLEY or STANLEY

1913.




                                                 17
          Case 3:25-cv-00243        Document 1       Filed 02/17/25      Page 18 of 34




The U.S. Consumer Product Safety Commission described the company conducting the recall as

“Stanley.” See https://www.cpsc.gov/Recalls/2025/Stanley-Recalls-2-6-Million-Switchback-

and-Trigger-Action-Travel-Mugs-Due-to-Burn-Hazard (“Stanley Recalls 2.6 Million Switchback

and Trigger Action Travel Mugs Due to Burn Hazard… Consumers should immediately stop

using the recalled travel mugs and contact Stanley to receive a free replacement lid, including

shipping… Stanley has received 91 reports worldwide, including 16 in the U.S., of the recalled

travel mugs’ lids detaching during use.”).

       39.     In other instances, PMI repeatedly and deliberately obscured that PMI was the

company issuing the press release, including for example and without limitation:

https://www.prnewswire.com/news-releases/stanley-1913-announces-multi-year-partnership-

with-the-brand-of-legendary-athlete-leo-messi-302312959.html (containing only a footer

indicating PMI “conducts business as Stanley 1913”).

       Other Advertising

       40.     PMI also infringed Stanley’s trademark rights and violated the 2012 Agreement

by publishing advertising materials—including marketing, promotional, and point-of-sale

materials, websites and webpages, blogs, and social media handles and posts—that prominently

featured STANLEY or STANLEY 1913 as its brand, trade name, and/or company name without

also displaying “PMI” in any of the ways that the 2012 Agreement repeatedly requires. For




                                                18
         Case 3:25-cv-00243         Document 1       Filed 02/17/25     Page 19 of 34




example and without limitation, PMI’s advertising materials did not display PMI “prominently

and at least once on each page … in a manner that is readily visible to consumers” and,

separately, also did not “display the PMI Name adjacent to STANLEY and in a size ratio of at

least 1:6 … in at least one readily visible instance in each piece of Advertising Material.” Upon

information and belief, “PMI” was not present at all on any recent PMI advertising materials

prior to January 2025 and, instead, each of PMI’s advertising materials referred to the company

as STANLEY (or STANLEY 1913).




                                               19
Case 3:25-cv-00243   Document 1   Filed 02/17/25   Page 20 of 34




                             20
          Case 3:25-cv-00243        Document 1           Filed 02/17/25   Page 21 of 34




       Food and Beverage Containers

       41.     PMI also infringed Stanley’s trademark rights and violated the 2012 Agreement

by using STANLEY or STANLEY 1913 repeatedly on all of its products without displaying PMI

on each product in a manner that was readily visible, adjacent to STANLEY, and/or in a size

ratio of at least 1:6, as the 2012 Agreement requires.

       42.     For example and without limitation, all of PMI’s products—including PMI’s core

Quencher Tumbler product—displayed the STANLEY mark with a trademark registration

symbol on the face of the product without, for example, also displaying the PMI name adjacent

to the STANLEY name in a “readily visible” manner and in a size ratio of at least 1:6, in

violation of the 2012 Agreement.




       43.     Additionally, all of PMI’s products—including Quencher Tumblers—displayed

STANLEY without also including “the PMI Name adjacent to STANLEY permanently affixed

onto the bottom of each Product and in a readily visible and prominent manner” and “PMI’s

website address (URL) permanently affixed onto the bottom of each Product in a readily visible


                                                21
         Case 3:25-cv-00243         Document 1       Filed 02/17/25     Page 22 of 34




and prominent manner” and “the PMI Name adjacent to STANLEY in a manner that is

prominent and readily visible to consumers at the time of purchase on one or more of the

following: hang tags affixed to the Products, wraps affixed to the Products, Product packaging,

or labels affixed to the Products,” and “either the PMI Name permanently affixed multiple times

around the bottom perimeter of each Product in a readily visible and prominent manner, or the

PMI Name in a readily visible and prominent manner imprinted on the UPC label affixed to the

bottom of each Product,” as the 2012 Agreement requires.

       44.     PMI even marketed and advertised numerous products using STANLEY as a

company or brand name—including but not limited to the Stanley Cross Bottle, Stanley

Quencher, Stanley Flask, Stanley Growler, the Stanley Essentials Case, Stanley Stein, Stanley

Bottles, Tumbler and Barware, and the Stanely All Day Collection— and it did so without ever

mentioning PMI, much less prominently, readily visibly, or in any of numerous other ways that

the 2012 Agreement required.

       45.     PMI also did not display the PMI name adjacent to STANLEY in a manner that is

prominent and readily visible to consumers at the time of purchase, including on packaging,

labels, hang tags, or wraps of PMI’s products, as the 2012 Agreement requires at point of sale.




                                               22
        Case 3:25-cv-00243      Document 1      Filed 02/17/25   Page 23 of 34




PMI’s website offered PMI products—including Quencher Tumblers—for sale without any

mention of PMI.




                                           23
         Case 3:25-cv-00243      Document 1      Filed 02/17/25     Page 24 of 34




      46.    On information and belief, PMI failed to comply with any of the restrictions and

limitations in the 2012 Agreement relating to “[p]roducts … that bear the STANLEY mark” and

“products sold by PMI bearing the STANLEY mark.”




                                            24
         Case 3:25-cv-00243        Document 1       Filed 02/17/25     Page 25 of 34




       Goods Other Than Food and Beverage Containers

       47.    PMI also launched—and continues to launch—an ever-expanding portfolio of

products that use STANLEY or STANLEY 1913, in breach the 2012 Agreement and in

infringement of Stanley’s trademark rights. PMI impermissibly expanded its use of STANLEY

on product offerings beyond food and beverage containers. For example and without limitation,

PMI improperly uses, or has used, STANLEY in violation of the 2012 Agreement and Stanley’s

trademark rights, on hundreds, if not thousands, of goods other than food and beverage

containers, including but not limited to STANLEY-branded apparel:




                                              25
Case 3:25-cv-00243   Document 1   Filed 02/17/25   Page 26 of 34




                             26
         Case 3:25-cv-00243        Document 1       Filed 02/17/25     Page 27 of 34




The 2012 Agreement expressly limits PMI’s use of STANLEY “solely to use as a trademark to

promote and sell insulated and non-insulated containers for food or beverages, and carrying cases

for transporting the same.”    PMI even placed trademark registration symbols next to the

STANLEY name on apparel in violation of the requirement that “PMI is prohibited from using the

® trademark registration symbol with STANLEY unless PMI owns a registration for that

trademark covering the associated goods,” which it does not for apparel goods.

       48.    PMI’s actions described herein above and below materially breach the parties’

2012 Agreement and separately infringe Stanley’s trademark rights. Because of PMI’s misuse of

STANLEY, consumers are left with the confusing impression that PMI’s products using

STANLEY or STANLEY 1913 originate from Stanley. PMI’s breach of the 2012 Agreement

and violation of Stanley’s trademark rights has already caused substantial actual consumer

confusion and is likely to cause consumer confusion in the future. As only one example, as


                                               27
         Case 3:25-cv-00243         Document 1       Filed 02/17/25     Page 28 of 34




recently as December 18, 2024, a reporter for The New Yorker contacted Stanley seeking

comment for an article regarding the Consumer Product Safety Commission’s recall of 2.6

million of PMI’s STANLEY-branded travel mugs due to burn hazards. The significant amount

of actual confusion shows that PMI’s unlawful use of STANLEY, in violation of the 2012

Agreement and Stanley’s trademark rights, has already irreparably damaged—and is likely to

continue to irreparably damage—Stanley’s hard-earned goodwill and reputation by incorrectly

associating PMI’s faulty products with Stanley in the minds of consumers.

D.     Stanley’s Notice to PMI

       49.     On August 22, 2024, Stanley reached out to PMI and asked PMI to comply with

the 2012 Agreement and cease its infringement of Stanley’s trademark rights. On September 13,

2024, after hearing no response from PMI, Stanley sent a second letter highlighting that PMI

failed to promptly and in good faith address the matters raised in the Notice Letter. The second

letter also identified additional new actions taken by PMI that continued and expanded its misuse

of STANLEY in violation of the 2012 Agreement. For example, PMI launched a new campaign

on September 16—after Stanley sent the first letter to PMI—with Mattel, Inc., titled “BARBIE x

STANLEY,” and launched at least two new colorways for the breaching and infringing products,

“Pumpkin Spice, and “Almond Rose.”

       50.     Despite Stanley’s good faith efforts since August 2024 to resolve these disputes,

PMI has failed to modify its behavior to comply with the 2012 Agreement and/or to respect

Stanley’s trademark rights. Instead, PMI willfully and intentionally continued to take actions

that violated Stanley’s contractual and trademark rights related to STANLEY. As noted above,

PMI made some immaterial and irrelevant changes to its website and advertising, which continue

to breach the 2012 Agreement and infringe Stanley’s trademark rights. By way of further

example, following the recall of PMI’s products in December 2024, PMI’s response has


                                               28
          Case 3:25-cv-00243          Document 1       Filed 02/17/25      Page 29 of 34




affirmatively created rather than dissipated confusion—PMI deliberately avoided the use of

“PMI” in its communications, statements, and press releases related to the recall, thereby

breaching the 2012 Agreement and misleading the public, media, and consumers into thinking

that Stanley’s products were recalled. Stanley is therefore compelled to enforce the 2012

Agreement and its trademark rights by seeking relief through this Court.

                                 V.     CAUSES OF ACTION

                                   Count I: Breach of Contract

        51.     The allegations set forth in all prior paragraphs are incorporated by reference as if

fully set forth herein.

        52.     The 2012 Agreement is a valid and enforceable contract under governing

Connecticut law.

        53.     Stanley performed its obligations under the 2012 Agreement.

        54.     By and through the conduct detailed above, PMI has materially breached and

continues to materially breach the 2012 Agreement, including, but not limited to, Paragraphs 1, 2

(including 2(a) and 2(b)), and 3 (including 3(a), 3(c), and 3(h)).

        55.     As a direct and proximate result of PMI’s material breach of contract, Stanley has

suffered damages.

        56.     Additionally, as a direct and proximate result of PMI’s material breach of

contract, Stanley has suffered, and will continue to suffer unless PMI is enjoined by this Court,

irreparable harm to its STANLEY brand and trademark rights, as well as its ability to control its

reputation, goodwill, and advantageous business relationships with its customers.

        57.     There is no remedy at law adequate to prevent the threatened or actual irreparable

harm occasioned by PMI’s breach of contract, thereby necessitating the entry of injunctive relief,

in addition to any other remedies afforded to Stanley in equity or at law.


                                                 29
          Case 3:25-cv-00243           Document 1      Filed 02/17/25      Page 30 of 34




                          Count II: Unfair Competition (15 U.S.C. § 1125(a))

        58.     The allegations set forth in all prior paragraphs are incorporated by reference as if

fully set forth herein.

        59.     STANLEY is inherently distinctive or has acquired secondary meaning among the

public associating Stanley and its products with STANLEY.

        60.     By and through the conduct detailed above, consumers are likely to be confused,

mistaken, or deceived as to the affiliation, connection, and/or association of PMI’s products and

services with Stanley or Stanley’s products, or as to the origin, sponsorship, or approval of PMI’s

products and services, and/or as to the nature, characteristics, or qualities of Stanley’s products.

        61.     PMI’s conduct, including as described above, has constituted and continues to

constitute unfair competition in violation of Section 43(a) of the Lanham Act, 15 U.S.C.

§ 1125(a).

        62.     PMI’s conduct, including as described above, exceeded the scope of the 2012

Agreement, despite Stanley’s notices to PMI, and continues to exceed the scope of the 2012

Agreement, and PMI is thereby willfully and intentionally infringing Stanley’s trademark rights.

        63.     Because of PMI’s conduct, Stanley has suffered, and will continue to suffer,

unless PMI’s conduct is enjoined, inter alia, actual damages and/or irreparable harm, as to

which it has no adequate remedy at law.

                   Count III: Trademark Infringement (15 U.S.C. § 1114(a))

        64.     The allegations set forth in all prior paragraphs are incorporated by reference as if

fully set forth herein.

        65.     The Stanley Registrations identify marks that are registered with the United States

Patent & Trademark Office. Each of the Stanley Registrations identifies a mark including

STANLEY.


                                                 30
          Case 3:25-cv-00243         Document 1        Filed 02/17/25      Page 31 of 34




        66.     Stanley owns the marks corresponding to the Stanley Registrations.

        67.     By and through the conduct detailed above, PMI has caused, and will continue to

cause, confusion, mistake, or deception as to the source, origin, or sponsorship of PMI’s products

and services. PMI’s unauthorized use of STANLEY in commerce in the United States, including

as alleged above, constitutes trademark infringement in violation of Section 32 of the Lanham

Act, 15 U.S.C. § 1114(a).

        68.     PMI’s conduct, including as described above, exceeded the scope of the 2012

Agreement, and continues to exceed the scope of the 2012 Agreement, and PMI is thereby

willfully and intentionally infringing Stanley’s federally registered trademarks.

        69.     Because of PMI’s conduct, Stanley has suffered, and will continue to suffer unless

PMI’s conduct is enjoined, inter alia, actual damages and/or irreparable harm, as to which it has

no adequate remedy at law.

                Count IV: Connecticut Common Law Trademark Infringement

        70.     The allegations set forth in all prior paragraphs are incorporated by reference as if

fully set forth herein.

        71.     PMI’s conduct, including as described above, constitutes trademark infringement

in the violation of the common law of the State of Connecticut.

        72.     Because of PMI’s conduct, Stanley has suffered, and will continue to suffer unless

PMI’s conduct is enjoined, inter alia, actual damages and/or irreparable harm, as to which it has

no adequate remedy at law.

                   Count V: Connecticut Common Law Unfair Competition

        73.     The allegations set forth in all prior paragraphs are incorporated by reference as if

fully set forth herein.




                                                 31
            Case 3:25-cv-00243        Document 1       Filed 02/17/25      Page 32 of 34




       74.      PMI’s conduct, including as described, constitutes unfair competition under the

common law of the State of Connecticut.

       75.      Because of PMI’s conduct, Stanley has suffered, and will continue to suffer unless

PMI’s conduct is enjoined, inter alia, actual damages and/or irreparable harm, as to which it has

no adequate remedy at law.

                                VI.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court:

       1.       Permanently enjoin PMI and its predecessors, successors, divisions, subsidiaries,

and joint ventures thereof, together with any and all parent or affiliated companies or

corporations, and all officers, directors, employees, attorneys, representatives, those acting in

privity or concern with them, or on their behalf, from:

             a. All of the above described conduct and activities breaching the 2012 Agreement

                and/or infringing Stanley’s trademark rights;

             b. Breaching any aspect of the 2012 Agreement;

             c. Directly or indirectly infringing Stanley’s trademark rights;

             d. Using STANLEY as any part of its company, trade name, or brand name,

                including in press releases, on its website, and in advertising;

             e. Using the domain www.stanley1913.com or any other domain name that includes

                STANLEY without PMI in contravention of the 2012 Agreement;

             f. Using STANLEY on food and beverage containers without each instance of

                STANLEY being accompanied by “PMI” or “PACIFIC MARKET

                INTERNATIONAL” in a manner that satisfies the requirements of the 2012

                Agreement;




                                                  32
             Case 3:25-cv-00243        Document 1       Filed 02/17/25       Page 33 of 34




              g. Using STANLEY in connection with products that are not food and beverage

                  containers, or carrying cases for transporting the same;

              h. engaging in further unfair competition and unfair or deceptive acts or practices.

        2.        Order specific performance by PMI of its obligations under the 2012 Agreement.

        3.        Order PMI to: (a) prepare and send to its customers and the general public

corrective statements approved by Stanley, correcting all false statements made and all

misrepresentations made concerning the STANLEY brand; and (b) disclaim any association

between PMI and Stanley and/or Stanley’s products;

        4.        Require PMI to take affirmative corrective measures, including but not limited to

product recalls, corrective advertising measures, disclaimers, and the forfeiture and/or

destruction of any infringing or breaching articles;

        5.        Award Stanley actual damages it has sustained and/or disgorgement in an amount

to be determined at trial;

        6.        Award Stanley enhanced and punitive damages;

        7.        Award Stanley prejudgment interest as well as its actual costs and attorneys’ fees

in this action;

        8.        Enter judgment in favor of Stanley on each of its claims; and

        9.        Grant to Stanley such other legal, equitable or other relief as may be just and

warranted under the circumstances.

                                    VII.     JURY DEMAND

    Plaintiffs demand a trial by jury on all issues presented in this Complaint.




                                                   33
         Case 3:25-cv-00243   Document 1     Filed 02/17/25     Page 34 of 34




Dated: February 18, 2025          Respectfully submitted,

                                   /s/ Kevin M. Lamb (#29944)

                                  Louis W. Tompros (pro hac vice application to be filed)
                                  WILMER CUTLER PICKERING
                                    HALE AND DORR LLP
                                  60 State Street
                                  Boston, MA 02109
                                  Tel: (617) 526-6886
                                  Fax: (617) 526-5000
                                  louis.tompros@wilmerhale.com

                                  Omar A. Khan (pro hac vice application to be filed)
                                  WILMER CUTLER PICKERING
                                    HALE AND DORR LLP
                                  7 World Trade Center
                                  250 Greenwich Street
                                  New York, NY 10007 USA
                                  Tel: (212) 937-7252
                                  Fax: (212) 230-8888
                                  omar.khan@wilmerhale.com

                                  Kevin M. Lamb (#29944)
                                  WILMER CUTLER PICKERING
                                    HALE AND DORR LLP
                                  2100 Pennsylvania Ave. NW
                                  Washington, D.C. 20006
                                  Tel: (202) 663-6249
                                  Fax: (202) 663-6363
                                  kevin.lamb@wilmerhale.com

                                  Attorneys for Plaintiffs




                                        34
